           Case 2:18-cv-02054-APG-BNW Document 41 Filed 09/25/20 Page 1 of 2




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     Attorney for Plaintiffs
 5
                                     UNITED STATES DISTRICT COURT
 6                                        DISTRICT OF NEVADA

 7   PHILIP STOECKINGER                                  Case No. 2:18-cv-02054-APG-BNW

 8                  Plaintiff,

 9   v.                                                  STIPULATION AND ORDER TO
                                                         DISMISS WITH PREJUDICE
10   CITY OF LAS VEGAS,

11               Defendant.
     _______________________________/
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13          Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, the parties, by and through

     their attorneys of record, hereby stipulate and request that the above-captioned case be dismissed in its
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     entirety with prejudice. Each party is to bear her/his/its own attorneys’ fees and costs, except as
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     otherwise agreed.
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            WHEREFORE, the parties respectfully request that this matter be dismissed with prejudice,
 2   with each party to bear its own costs and attorneys’ fees, except as otherwise agreed.
 3          DATED this ___ day of September 2020

 4   LAW OFFICES OF DANIEL MARKS                     CITY ATTTORNEYS OFFICE

 5
     By: /s/ Daniel Marks                            By: __/s/ Jeffrey L. Galliher___
 6      Daniel Marks, Esq.                               Jeffrey L. Galliher, Esq.
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 7      610 South Ninth Street                           495 South Main Street, Sixth Floor
        Las Vegas, NV 89101                              Las Vegas, NV 89101
 8      Attorney for Plaintiff                           Attorney for Defendant

 9
                                                     ORDER
10
            IT IS SO ORDERED.
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12   Date: September 25, 2020                     ________________________________________
                                                  UNITED STATES DISTRICT COURT JUDGE
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